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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA,

      v.
                                                 Criminal No. 15-10338-FDS
22. RAFAEL LEONER-AGUIRRE,
a/k/a “Tremendo,”

                   Defendant.



            OPPOSITION OF THE UNITED STATES TO
           RAFAEL LEONER-AGUIRRE’S MOTION FOR
   JURY DETERMINATION OF ATTEMPTED MURDER PREDICATES

      The United States opposes the Motion for Jury Determination of Attempted

Murder Predicates filed by defendant Rafael Leoner-Aguirre a/k/a “Tremendo.” See

Dkt. No. 1289.   Defendant’s motion seeks a ruling that “the issue of whether he

conspired to commit or further the crime of attempted murder not be considered at

sentencing unless submitted to the jury as a RICO predicate offense, and absent a

jury’s affirmative finding using a reasonable doubt standard.”       Motion at 1.

Defendant’s motion is premised on a misunderstanding of RICO conspiracy law.

Further, defendant seeks a deviation from well-established law holding that the

existence of relevant conduct is determined at sentencing by a preponderance of the

evidence.   As to Leoner-Aguirre, the government does not need to prove any

predicate acts to a jury beyond a reasonable doubt, and if he is convicted of RICO

conspiracy, this Court should hold Leoner-Aguirre responsible for all relevant

conduct under a preponderance standard. Defendant’s Motion should be DENIED.
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               FACTUAL AND PROCEDURAL BACKGROUND

1.   The Charged Racketeering Conspiracy

      On May 15, 2017, the grand jury returned a Fifth Superseding Indictment

against the defendant and other leaders, members, and associates of MS-13. See

Dkt. No. 1107 (hereinafter, the “Indictment”). Defendant Leoner-Aguirre is one of

the defendants charged in Count Two of the Indictment, which alleges a conspiracy

to conduct enterprise affairs through a pattern of racketeering activity in violation

of 18 U.S.C. § 1962(d). Id. at ¶¶ 2-31.

      In short, the Indictment charges that Leoner-Aguirre and other defendants,

“being persons employed by and associated with MS-13, an enterprise which was

engaged in, and the activities of which affected, interstate and foreign commerce,

did knowingly conspire with each other, and with other persons known and unknown

to the Grand Jury, to violate Title 18, United States Code, Section 1962(c), that is,

to conduct and participate, directly and indirectly, in the conduct of the affairs of the

MS-13 enterprise through a pattern of racketeering activity[.]” Id. at ¶ 25.

      As alleged, “The pattern of racketeering activity consisted of:

           a) multiple offenses involving trafficking in narcotics,
              including cocaine, cocaine base, heroin, and marijuana, in
              violation of 21 U.S.C.§§ 846 and 841(a)(1);

           b) multiple acts involving murder, in violation of
              Massachusetts General Laws, Chapter 265, Section 1
              (murder), Section 15 (assault with intent to murder),
              Section 16 (attempt to murder), and Section 18 (armed
              assault with intent to murder), and in violation of
              Massachusetts General Laws, Chapter 274, Section 7
              (conspiracy to commit murder); and



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           c)   multiple acts involving robbery, in violation of
                Massachusetts General Laws, Chapter 265, Section 17
                (armed robbery), Section 18 (armed assault with intent to
                rob), and in violation of Massachusetts General Laws,
                Chapter 274, Section 6 (attempted robbery) and Section 7
                (conspiracy to rob).”

Id. at ¶ 26. Further, “[i]t was part of the conspiracy that each defendant agreed that

a conspirator would commit at least two acts of racketeering activity in the conduct

of the affairs of the MS-13 enterprise.” Id. at ¶ 27 (emphasis added).

      The Indictment provides examples of the alleged means and methods of the

conspiracy—i.e., examples of the types of racketeering acts that the defendants

agreed that a conspirator would commit.       These examples include six murders

committed by MS-13 members in Massachusetts, see id. at ¶29(a)-(f), as well as

fourteen separate incidents of attempted murder involving twenty victims, see id. at

¶ 29(g)-(t). The examples include the following acts committed by Leoner-Aguirre: (i)

an April 6, 2014 attempt by Leoner-Aguirre to murder Victims No. 6 and No. 7 by

striking them with a machete, see id. at ¶ 29(h); (ii) an April 16, 2014 attempt by

Leoner-Aguirre and others to murder Victims No. 9 and No. 10 by shooting at them,

see id. at ¶ 29(i); and (iii) an agreement in or about March 2015 by Leoner-Aguirre

and others to attempt to murder Victim No. 22 with a machete, see id. at ¶ 29(n).

2.    Expected Evidence at Trial and Government’s Position Regarding
      Statutory Maximum Applicable to Leoner-Aguirre

      The government expects that the evidence at trial will show that Leoner-

Aguirre—in addition to personally being involved in the attempted murders listed as

examples of the means and methods of the conspiracy—was the leader of the

Enfermos Criminales Salvatrucha (“Enfermos”) clique of MS-13. All but one of the

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“Group Four” defendants scheduled for trial in November 2017 alongside Leoner-

Aguirre were members of the Enfermos clique, including Hector Ramires a/k/a

Cuervo and Bryan Galicia-Barillas a/k/a Chucky, the two defendants the government

seeks to hold responsible for the murder of Katerin Gomez. See Indictment at ¶ 29(a).

      The evidence will show that the Enfermos were a fledgling group comprised of

younger MS-13 members (generally “paros” and “chequeos” who had not gained full

membership as “homeboys”) leading up to 2014, when defendant Leoner-Aguirre

arrived in Boston and took over the leadership of the Enfermos. 1

      Based on how the racketeering conspiracy is charged and based on the notice

the Indictment provides Leoner-Aguirre, the defendant is subject to a twenty-year

statutory maximum no matter what the evidence at trial shows, as opposed to being

subject to an enhanced life sentence. The specific sentence to be imposed upon a

guilty finding should be based on, among other things, the relevant conduct

attributable to defendant under the customary sentencing framework, which allows

imposition of a sentence by a judge on a preponderance of the evidence standard

rather than by a jury on a beyond a reasonable doubt standard.



1      The government anticipates that the evidence will likely further show that in
his capacity as the leader of the Enfermos, Leoner-Aguirre encouraged or authorized
members of the Enfermos to murder rival 18th Street gang members to reclaim
Chelsea as MS-13 territory. At the very least, much of the violence committed by
members of the Enfermos may be attributable to Rafael-Aguirre. Given those facts,
one can envision a scenario where the government could have charged Leoner-
Aguirre in a manner that would make him eligible for a life sentence. See 18 U.S.C.
§ 1963 (allowing for an enhanced penalty of life if the RICO violation is based on a
racketeering activity for which the maximum penalty includes life). As presently
charged, however, the government is not seeking to hold Leoner-Aguirre responsible
for a murder that would be make him eligible for a life sentence.

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      Defendant now demands that the examples of the means and methods of the

conspiracy—including attempted murders committed by the defendant—be

submitted to the jury, and further, that relevant conduct for sentencing purposes be

limited to only those predicate acts found by the jury as having been committed by

Leoner-Aguirre beyond a reasonable doubt.          Such a request runs counter to

established law and should be denied.

                                    ARGUMENT

1.    The Government is Neither Required Nor Limited to Proving Two
      Predicate Acts by the Defendant to Convict Him of RICO Conspiracy

      Like the defendant’s Motion for a Bill of Particulars, see Dkt. No. 1286, the

defendant’s requests in this motion are premised on a foundational misunderstanding

about the law on RICO conspiracies and what the government needs to prove at trial

to convict the defendant of the charged conspiracy. See, e.g., Motion at pp. 1-2 (“Given

the requirement of two RICO predicates, the defendant assumes ….”); id. at p. 7 (“The

government should not be permitted to select predicate offenses to present to the jury

that it did not present to the defendant upon indictment.”).

      The defendant is under the mistaken impression that convictions for

racketeering conspiracy require the government to prove two RICO predicates as to

each defendant, and the government must allege those two RICO predicates in the

indictment. This is not true, and the defendant continually conflates the law on

substantive RICO violations (which requires the government to prove predicate acts)

and the law on RICO conspiracy (which does not require such proof). See, e.g., Salinas

v. United States, 522 U.S. 52, 61-66 (1997) (“It makes no difference that the


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substantive offense under § 1962(c) requires two or more predicate acts. The interplay

between subsections (c) and (d) does not permit us to excuse from the reach of the

conspiracy provision an actor who does not himself commit or agree to commit the

two or more predicate acts requisite to the underlying offense.”).

      Well-established law makes clear that the government does not need to prove

that each defendant committed two racketeering acts; the government is neither

required to, nor limited to, provide proof of what the defendant characterizes as

“predicate acts” listed in the indictment; and those acts are just examples of the

means and methods of the conspiracy. See Government’s Response to the Motion for

Bill of Particulars, filed separately today (collecting cases and discussing law). See

also Salinas, 522 U.S. at 61-66 (holding that there is no requirement that the

defendant himself commit or agree to commit the two predicate acts that would be

required for a substantive RICO violation); United States v. Ciccone, 312 F.3d 535,

542 (2d Cir. 2002) (holding that a “conspirator charged with racketeering conspiracy

need not commit ... the predicate acts ... to be found guilty of the racketeering

conspiracy, for it suffices that he adopt[ ] the goal of furthering or facilitating the

criminal endeavor”) (quotation omitted); Laverty v. Massad, No. 08-40126-FDS, 2009

WL 1873646, at *6 (D. Mass. Mar. 10, 2009) (Saylor, J.) (holding that there is “no[ ]

need to allege that each conspirator agreed to commit (or actually committed) two or

more predicate acts,” “no overt act is required” to prove RICO conspiracy, and “a

defendant may be part of a RICO conspiracy even if he has not committed a

substantive RICO violation”) (citing Salinas and United States v. Cianci, 378 F.3d 71,

88 (1st Cir. 2004)).

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      Under the defendant’s misguided view of RICO law, every RICO conspiracy

case brought under 18 U.S.C. § 1962(d) would require proof of two substantive RICO

violations—and worse, proof beyond reasonable doubt of two predicate acts by each

defendant—positions that are inconsistent with the law and that would make the

RICO conspiracy provision worthless. See, e.g., United States v. Glecier, 923 F.2d 496,

500 (7th Cir. 1991) (“If the government were required to identify, in indictments

charging violation only of section 1962(d), specific predicate acts in which the

defendant was involved, then a 1962(d) charge would have all of the elements

necessary for a substantive RICO charge. Section 1962(d) would thus become a

nullity, as it would criminalize no conduct not already covered by sections 1962(a)

through (c). Such a result, quite obviously, would violate the statutory scheme in

which conspiracy to engage in the conduct described in sections 1962(a) through (c)

is itself a separate crime.”); United States v. Applins, 637 F.3d 59, 81 (2d Cir. 2011)

(citing Glecier and holding same).

      Contrary to defendant’s understanding, “because a RICO conspiracy charge

need not specify the predicate or racketeering acts that the defendants agreed would

be committed, it is sufficient to allege and prove that the defendants agreed to the

commission of multiple violations of a specific statutory provision that qualifies as

RICO racketeering activity.” Applins, 637 F.3d at 81 (2d Cir. 2011) (citing Salinas

and Glecier). The Indictment in this case plainly does that. See Indictment at ¶ 26

(alleging violations of various federal and state statutory provisions that qualify as

racketeering activity).




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2.    There is No Apprendi Issue if Defendant is Sentenced to Less Than
      the Twenty-Year Statutory Maximum for Racketeering Conspiracy

      Much of the defendant’s motion is devoted to arguing that the principles of

Apprendi v. New Jersey, 530 U.S. 466 (2000) and its progeny require that the jury be

required to make determinations beyond reasonable doubt as to the predicate acts for

which the defendant should be sentenced. See, e.g., Motion at p. 3 (“The principles

and logic of Alleyne and Apprendi v. New Jersey, 530 U.S. 466 (2000), require that an

issue so determinative of the defendant’s sentence be submitted to the jury.”); id. at

p. 6 (arguing that “there is a unique rationale for extending Apprendi to 18 U.S.C. §

1962(d).”). The logic of Apprendi requires no such thing.

      In Apprendi, the Supreme Court held that “[o]ther than the fact of a prior

conviction, any fact that increases the penalty for a crime beyond the prescribed

statutory maximum must be submitted to a jury, and proved beyond a reasonable

doubt.” 530 U.S. at 490 (emphasis added). Defendant seeks to extend Apprendi to

not only facts that increase the statutory maximum, but also facts that increase the

Guidelines range.   In attempting to do so, defendant ignores post-Apprendi law

making clear that Apprendi simply does not apply to sentences less than the statutory

maximum. See, e.g., United States v. Gonzalez, 857 F.3d 46, 60–61 (1st Cir. 2017)

(dismissing the “now much-rehashed argument that we should expand our

understanding of Alleyne and Apprendi to require a beyond-a-reasonable-doubt

finding of facts that enhance the Guidelines range” and holding that “we have

repeatedly considered and rejected this argument.”) (collecting cases).




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      The defendant similarly ignores First Circuit law making clear that judicial

fact-finding of sentencing factors under a preponderance standard does not run afoul

of the Constitution. See, e.g., Gonzalez, 857 F.3d at 61 (“Alleyne and Apprendi do not

require sentencing facts that do not change the statutory sentencing range to be

found beyond a reasonable doubt.”); United States v. Cox, 851 F.3d 113, 120 (1st Cir.

2017) (holding that preponderance standard does not violate Fifth Amendment due

process or Sixth Amendment rights). Indeed, the First Circuit has gone as far as to

describe the arguments that the defendant is raising as “meritless.” United States v.

Ramírez-Negrón, 751 F.3d 42, 48 (1st Cir. 2014) (“[B]oth defendants argued that their

sentences violate the Sixth Amendment because they were imposed on the basis of

factfinding by a judge on a preponderance of the evidence standard rather than by a

jury on a beyond a reasonable doubt standard. These arguments are meritless.”).

      Cases around the country similarly make clear that Apprendi does not apply

where a RICO defendant is sentenced within the statutory maximum. See, e.g.,

United States v. Sahakian, 446 Fed. Appx. 861, 862 (9th Cir. 2011) (holding that

Apprendi did not apply because RICO sentence was within the statutory maximum);

United States v. Corrado, 227 F.3d 528, 542 (6th Cir. 2000) (holding that enhanced

RICO sentences within the twenty-year maximum did not trigger Apprendi).

      In this case, the government does not intend to seek a sentence for Leoner-

Aguirre beyond the twenty-year statutory maximum for RICO conspiracy. Given that

there is no attempt to “increase the penalty for a crime beyond the prescribed

statutory maximum,” there is no Apprendi issue here. Consequently, there is no need

to submit acts attributable to Leoner-Aguirre to the jury for a finding of guilt beyond

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a reasonable doubt. Consistent with standard sentencing protocols, if a jury finds

Leoner-Aguirre guilty of RICO conspiracy, the sentencing judge can and should

determine relevant conduct under a preponderance standard.

3.    The Sentencing Guidelines Make Clear How to Sentence the
      Defendant for Relevant Conduct if Convicted of RICO Conspiracy

      The Sentencing Guidelines make clear how the Court should sentence a

defendant like Leoner-Aguirre if convicted for RICO conspiracy, and the defendant’s

efforts at charting a new path by having the jury make determinations of relevant

conduct beyond a reasonable doubt should be rejected.

      The base offense level for a RICO violation is the offense level applicable to the

underlying racketeering activity, or nineteen, whichever is greater. U.S.S.G. § 2E1.1.

Pursuant to Section 1B1.3 of the Guidelines, which governs relevant conduct, the

“underlying racketeering activity” that determines the base offense level for a RICO

violation consists of “any act, whether or not charged against defendant personally,

that qualifies as a RICO predicate under 18 U.S.C. § 1961(1) and is otherwise relevant

under § 1B1.3.” United States v. Carrozza, 4 F.3d 70, 77 (1st Cir. 1993).

      Further, the underlying activity for a RICO conviction includes both charged

racketeering acts as well as uncharged activity, so long as such activity is within the

scope of and in furtherance of the criminal activity, and is also reasonably foreseeable

to the defendant. As the First Circuit has stated, “Carrozza holds that in a RICO

case, in determining the base offense level, the sentencing court should not limit its

relevant conduct inquiry to the predicate acts charged against the defendant, but

instead should consider ‘all conduct reasonably foreseeable to the particular defendant


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in furtherance of the RICO enterprise to which he belongs.’” United States v. Marino,

277 F.3d 11, 37 (1st Cir. 2002) (citing Carrozza, 4 F.3d at 74) (emphasis added).

      Importantly, “when conducting a relevant conduct analysis, the district court

need only find that the relevant conduct occurred by a preponderance of the evidence.”

Marino, 277 F.3d at 37 (citing United States v. Caba, 241 F.3d 98, 101 (1st Cir. 2001)).

Federal appellate courts have routinely followed these principles when approving

consideration of not only uncharged conduct in determining relevant conduct, but also

conduct for which a defendant is tried and acquitted. In Marino, for example, the

First Circuit found that the district court’s consideration of the defendant’s attempted

murder of rival, for which the jury did not convict him, was not problematic under

Apprendi because defendant’s sentence did not exceed the statutory maximum. 277

F.3d at 38. See also United States v. Pica, 692 F.3d 79, 88-90 (2d Cir. 2012) (affirming

defendant’s sentence for RICO conspiracy where, in determining the guideline range,

an acquitted charge was included as relevant conduct, stating: “[a] court may treat

acquitted conduct as relevant conduct at sentencing, provided that it find by a

preponderance of the evidence that the defendant committed the conduct”); United

States v. Mercado, 474 F.3d 654, 655-57 (9th Cir. 2007) (affirming sentences in RICO

conspiracy prosecution where sentences were based on criminal conduct charged in

indictment, but found not proved beyond a reasonable doubt); United States v. Thai,

29 F.3d 785, 819-20 (2d Cir. 1994) (finding that court properly considered acts of

violence not charged as predicate acts as relevant conduct since they were in

furtherance of the RICO conspiracy); United States v. Darden, 70 F.3d 1507, 1544-45

(8th Cir. 1995) (finding no sentencing error in a case where defendant was held

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accountable under relevant conduct guideline for murder committed by others but for

which defendant was deemed to have aided and abetted the murder by a

preponderance of the evidence); United States v. Tocco, 306 F.3d 279 (6th Cir. 2002)

(holding that in RICO conspiracy case, racketeering activity by the defendant’s

coconspirators was relevant conduct for sentencing purposes).

4.    The Court’s Ability to Conduct a Fair Trial, Impose a Fair Sentence,
      and Separate Itself from the Executive Branch

      Finally, the prosecution does not share the defendant’s purported concerns

about the judge being part of the government apparatus and special jury

determinations thus being needed to ensure that the defendant is protected against

potential prejudice by the judge. See Motion at p. 4 (arguing that “the historic role of

the jury is to serve as an intermediary between the State and the defendant” and “the

‘State’ includes not only the prosecutor, but also the judge”); see also id. (quoting a

dissent from Justice Roberts in Alleyne which stated that the Sixth Amendment

provides for, among other things, “security against the prejudices of judges, who may

partake of the wishes and opinions of the government…”).

      The defendant’s Motion also quotes from, and attaches as an exhibit, a speech

by President Trump on MS-13. See Motion at p. 4 and Ex. 1. Although the defendant

claims that his arguments should not be taken as a lack of confidence in the capacity

of this Court, id. at p. 4, the defendant nonetheless goes on to say that the “issue is

broader” because “the right to a jury, in general, protects a defendant from the risk

that a judge may feel obligated to reflect the views of the Executive Branch.” Id.




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      There is no reason to believe that the trial judge in this case will feel obligated

to reflect the views of the Executive Branch when overseeing the trial or sentencing

Leoner-Aguirre or other MS-13 members. Simply put, this is not a basis to ask for

special jury determinations of relevant conduct.

                                   CONCLUSION

      Based on settled law, there is no need for the government to prove to the jury

beyond a reasonable doubt that Leoner-Aguirre committed each “predicate act.” Nor

is the government limited to proof of the listed examples of the means and methods

of the conspiracy in proving its case or arguing for an appropriate sentence. If a jury

finds Leoner-Aguirre guilty of the racketeering conspiracy charged in Count Two of

the Indictment, this Court should hold him responsible at sentencing for any relevant

conduct proven by a preponderance of the evidence. The defendant’s motion for a jury

determination of attempted murder predicates should be DENIED.


                                               Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I, Kunal Pasricha, certify that on September 5, 2017, I served this document

upon counsel of record by filing it through the CM/ECF system.


                                            /s/ Kunal Pasricha
                                            KUNAL PASRICHA
                                            Assistant United States Attorney




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